             Case 1:17-cv-12468-LTS Document 13 Filed 06/01/18 Page 1 of 3



                         UNITED STATES DISTRICT COURT FOR THE
                              DISTRICT OF MASSACHUSETTS


 Alamite Ventures LP,
    a Scottish limited partnership,                          Case No.: 1:17-cv-12468-LTS

      Plaintiff,
                                                          PLAINTIFF’S STATUS REPORT
 v.

 Matvil Corporation (d/b/a ETVNET),
   an Ontario, Canada corporation,
 Mikhail Gayster, an individual, and
 Nataliya Viktorova, an individual,

      Defendants.


           Plaintiff Alamite Ventures LP (“Plaintiff”) hereby provides the Court with a report on the

status of service of process on the Defendants in accordance with the Court’s order dated March

14, 2018 [Docket No. 8] granting Plaintiff’s Motion for Extension of Time to Serve Foreign

Defendants [Docket No. 7].

           As described in Plaintiff’s Motion for Extension of Time to Serve Foreign Defendants, on

January 24, 2018, Plaintiff engaged Legal Language Services to manage the service of process

on Defendants through the Central Authority of Ontario, Canada pursuant to the Hague

Convention. The Central Authority received the summonses and complaints for Defendants on

February 15, 2018. The Legal Language Institute estimated that it would not receive proof of

service back from the Central Authority until May or June of 2018 – two to four months after

receipt.

           However, shortly after the Court’s order on the Motion, Attorney Alex Patchen of Lewis

Baach Kaufmann Middlemiss PLLC contacted counsel for Plaintiff on behalf of Defendants and

stated that Defendants would execute waivers of service of summons. Mr. Patchen provided to
           Case 1:17-cv-12468-LTS Document 13 Filed 06/01/18 Page 2 of 3



Plaintiff’s counsel the executed waivers of service of summons on March 23, 2018 and Plaintiff

filed the waivers of service of summons for each of the Defendants on April 4, 2018 [Docket

Nos. 10, 11, 12].

         In accordance with the waivers of service of summons, Defendants have until June 21,

2018 to respond to the Complaint, which has not yet come to pass.

Dated:          June 1, 2018                 Respectfully Submitted,
                                             Plaintiff Alamite Ventures LP
                                             By its attorneys,

                                             /s/ Matthew Shayefar
                                             Matthew Shayefar (BBO# 685927)
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          Case 1:17-cv-12468-LTS Document 13 Filed 06/01/18 Page 3 of 3



                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the CM/ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non-registered participants on June 1, 2018.

                                                      /s/ Matthew Shayefar
